AUG 0 1 2p

Direct Federal Direct Consolidation Loan _|ranmoone”

. . . Exp. Date 1/31/2002
Application and Promissory Note
-OalS WARNING: Any pereon who knowingly makes a taise statement or misrepresentation on this form shall be subject
Waar 0 Fed Federal De Loan to penalties which may include Gnes, imprisonment, or both, under the U.S. Criminal Code and 20 U.S.C, 1097.

i form Sheva be spied i in blue or black ink or “ypewitian and must be signed and dated iby the applicants). iy you cross out anything and
write in new information, put your initials beside the change.

SSECHOU EN aso tune tone Lame ae
1, Last Name First Name Middle initial | 2. Social Security Number
Potry Rs ele L - 4944
3, Permanent Street Ardracs [if PA haw can inetnintinnel 4. Home Area Code/Telephone Number
| ( 2993
City State Zip Code 5. Fax Number (Optional) 6. E-Mail Address (Optional)
Mope Gvove mn STB ( ) Cbg @ ton Lets tat
7. Former Name(s) 8. Date of Birth 9. Driver's License Number (put state abbreviation first) Nek
$4 (ma ) 790
10. Employer's Name 11. Employer's Address
U.S. Qist. Court
12, Emntaver's Aroa CndafTalanhane Number City State Zip Code
nod | St. faol mA ss

13. If you are martied, does your spouse have an eligible loan(s) (see instructions) that you want to consolidate with your loan(s)? Yes (_] No [_]
If yes, complete Section C, include your spouse’s loan(s) in Section D, and have your spouse sina and date Item 32 in Section F.

SOeE UO tsi OTe BrORCOr AMR NICE

14. References: Enter the requested Information for two relatives or acquaintances who do not live with you and who have known you for at
least three years. References may not live outside the United States.

Name 1. Glockys Pedve, 2. Soe Pebvuy

CARDELS 800-783-0399

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Permanent Address _
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City, State, Zip Code Spa eens Wer 99 201 Spoleews, Wd 992

Area CodeyTelephone Number ( -0U 23 ( 12 I

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15. Last Name First Name Middle initia 16. Social Security Number
17. Date of Birth 18, Driver's License Number (put state abbreviation first) 19, Fax Number (Optional)
20. Former Name(s) 21, E-Mall Address (Optional!)
22. Employer's Name 23, Employer's Address
24, Employer's Area Code and Telephone Number City State Zip

) GOVERNMENT
EXHIBIT

_ AL

Borrower's Name__ Lick 2. fetny “AUG "1 2p

Borrower's Social Security Number_ L749

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Cn: Sree ees ees
eS Cee ee

25. Loan Holder/Servicer's Name, 27, B=Borrower| 28. Account Number 29. Current | 30. To Be

Address, and Area Code/Telephone Type S=Spouse Balance Consolidated?
Number J=Joint Yes No
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Borrower's Name__Aied Pebry ite

Borrower's Social Security Number — AF Xf 7

So ark Tories Pe

Carefully read the repayment plan information in “Direct Consolidation Loans” that accompanies this application and promissory note to
understand your repayment plan options. Then, complete this section to select your repayment plan. Remember--

* Allstudent loans must be repaid under the same repayment plan. Parent PLUS loans may be repaid under a different repayment plan.

* If you select the Income Contingent Repayment Plan, you must complete the “Repayment Plan Selection” and “Income Contingent Repay-
ment Plan Consent to Disclosure of Tax Information” forms that accompany this application and promissory note. Your selection cannot be
processed without these forms,

* if you want to consolidate a defaulted student loan(s) and you have not made a satisfactory repayment arrangement with your
current holder(s), you must select the Income Contingent Repayment Plan.

31. Place an "X” in the box that corresponds to your repayment plan selection for each loan type. Note that Direct PLUS Consolidation Loans cannot be
repaid under the Income Contingent Repayment Plan.
Income Contingent . Standard . Extended . Graduated

STUDENT LOANS Ditect Subsicized and Unsubsidized Consolidation Loans XM LJ LO LI

POToOnUUeC

ean steed

Promise to Pay: advised not to read the note. | am entitled to an exact copy of this

| promise to pay to the U.S. Department of Education (ED) all sums note and a statement of the Borrower's Rights and Responsibilities.
(hereafter “loan” or “loans") disbursed under the terms of this My signature certifies that | have read, understand, and agree, to the
Promissory Note (note) to discharge my prior loan obligations, plus _—_ terms and conditions of this note, Including the Borrower Certification

interest, and other fees that may become due as providedin this and Authorization printed on the reverse side and the accompanying
note. If | fail to make payments on this note when due, | will also pay Borrower's Rights and Responsibilities.

collection costs including but not limited to attomey's fees and court
costs. If ED accepts my application, | understand that ED will on my
behalf send funds to the holder(s) of the loan(s) selected for
consolidation In order to pay off this loan(s). | further understand that
the amount of this loan will equal the sum of the amount(s) that the
holder(s) of the loan(s) verified as the payoff balanca(s) on that
foan(s) selected for consolidation. My signature on this note will
serve as my authorization to pay off the balance(s) of the loan(s)

If consolidating jointly with my spouse, we agree to the same terms
and conditions contained in the Borrower Certification and
Authorization. In addition, we confirm that we are legally married to
each other and understand and agree that we are and will continue
to be held jointly and severally liable for the entire amount of the debt
represented by the Federal Direct Consolidation Loan without regard
to the amounts of our individual loan obligations that are
sags : consolidated and without regard to any change that may occur in our
ante) for consolidation as provided by the holder(s) of such marital status, We understand that this means that one of us may be
‘ required to pay the entire amount due if the other Is unable or
This amount may be more or less than the estimated total balance | refuses to pay. We understand that the Federal Direct Consolidation

have indicated in Section D. Further, | understand that if any Loan we are applying for will be cancelled only if both of us qualify
collection costs are owed on the loans selected for consolidation, for cancellation. We further understand that we may postpone
these costs may be added to the principal balance of the repayment of the oan only if we provide ED with written requests
consolidation loan. that confirm Federal Direct Consolidation Loan Program deferment

| understand that this Is a Promissory Note. | will not sign this note —_or forbearance eligibility for both of us at the same time.
before reading ii, including the text on the reverse side, even if] am

| UNDERSTAND THAT THIS IS A FEDERAL LOAN THAT I MUST REPAY.

32. Signature of Borrower

Signature of Spouse (if consolidating jointly)

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Promissory Note(continued)

Governing Law and Notices

This Promissory Note (note) applies to Federal Direct Consolidation Loans (Direct Consolida-
tion Loans). In this note, the Higher Education Act of 1965, as amended, 20 U.S.C. 1070 gt
$2Q., and applicable U.S. Department of Education (ED) regulations are referred to as “the Act.”
The terms of this note wil be Interpreted according to the Act and other applicable federal
statutes and regulations. Applicable state law, except as preempted by federal taw, may provide
for certain borrower rights, remedies, and defenses in addition to those stated in this note.
Disclosure of Terms

When the loan(s) that | am consolidating is paid off, | will be sent a Disclosure Statement and
Repayment Schedule (disclosure). The disclosure wil identily my Direct Consolidation Loan
amount and additional terms of my loan. If | have questions about the Information disclosed, |
will contact ED. If the information in this note confficts with the information In the disclosure, the
disclosure will be contralling.

Important additional tarms of this loan are disclosed in tha statement of Borrower's Rights and
| understand that my Direct Consolidation Loan may consist of up to three separate loan
identification numbers depending on the loan(s) | choose to consolidate. These loan
identification numbers will represent prior subsidized loans, prior unsubsidized loans, and prior
parent PLUS loans. The Borrower's Rights and Responsibilities identifies which ofigile loans
ase included in each of these categories. Each appicable loan identification number is
represented by this note.

Interest

Except for interest ED does not charge me during an in-school, grace, or deferment period, |
agree to pay interest on the principal amount of my Direct Consolidation Loan from the date of
disbursement until the loan Is paid fn full or discharged. ED may add interest that accrues but is
not paid when due to the unpaid principal balance of this loan, as provided under the Act. This is
called capitalization.

interest will be calculated according to the appticable formulas provided for by the Act.

The interest rate on my Direct Consolidation Loan will be based cn the weighted average of the
interest rales on the loans being consolidated, rounded to the nearest higher one-eighth of one
percent, but shail not exceed 8.25%. This Is a fixed interest rate, which means that the rate will
remain the same throughout the life of the ican.

Late Charges and Collection Costs

#1 fail to make any part of an installment payment within 30 days after it becomes due, ED may
collect from me a late charge that will not exceed six cents for each dollar of each late
instafiment. if | defaut on the loan, | will pay reasonable collection fees and costs, plus court
costs and attomey’s fees associated with collection of the debt,

Grace Period

My Direct Consolidation Loan will receive a grace period if | meet ail of the following conditions:
(1) | have at least one William D, Ford Federal Direct Loan (Direct Loan) Program loan or aitend
a Direct Loan school, (2) at least one Direct Loan or Federal Family Education Loan (FFEL)
Program loan that |! am consolidating is in an in-school period, and (3) my application for a
Direct Consolidation Loan is received by ED prior to the end of my in-school period. A six-month
grace period begins the day after | cease to be enrolled at least haif time at an eligible school. (If
Iny enrollment status changes to less than half time after | apply but before the first
disbursement of my Direct Consolidation Loan, | will not have to make payments on my Direct
Consolidation Loan for the number of months remaining in my grace period at the time the first
disbursement is made.)

Repayment

Uniess my Direct Consolidation Loan Is in an in-school or grace peitod when it Is disbursed, |
must select a repayment plan. If | do not select a repayment plan, ED will choose a plan for me
in accordance with ED's regutations. My first payment will be due within 60 days of the first
disbursement of my Direct Consolidation Loan uniess it fs in an in-school, grace, or deferment
period. A repayment schedule wil be furnished to me and will establish repayment tems,
Including my payment amount and the length of my repayment period. Payments will be
scheduled in monthly installments. The amourt of my monthly payment may be adjusted to
reflect changes in the variable interest rate, ED may adjust my repayment schedule if ED leams
that any of the Joans fisted herein is not eligible to be consolidated. My repayment period will be
up to 30 years in length, depending on the amount of my student loan indebtedness and my
repayment plan. Any period for which ED has granied a deferment or forbearance will not be
included in determining my repayment period,

I may prepay all or any part of the unpaid balance on my loan at any time without penalty. |
agree to accept writtan notification of such pay off in leu of receiving the original note.
Acceleration and Default

At the option of ED, the entire unpaid balance shalt become immediately due and payable when
either of the foSowing events occurs: (7) | make false representation that results In my receiving
a loan for which | am not eligible, or (ff) | defautt on the foan.

The following events shall constitute a defauit on a loan: (i) | fall to pay the entire unpaid balance
after ED has exercised its option under the preceding paragraph; or (#) | fail to make installment
payments when due, or fail to comply with other terms of the loan, and ED reasonably concludes
| no longer intend to honor my repayment obligation, My failure must have persisted for at least
270 days. Hf | default, ED wil capitalize al! outstanding interest into a new principal balance.

tt | default, this will be reported to national credit bureau organizations and will significantly and
adversely affect my credit rating. | acknowledge that a defauit shall have additional adverse
Consequences to me as disclosed in the Borrower's Rights and Responsibiiiies.

Following default, the loan may at ED’s option, be subject to income contingent repayment in
accordance with the Act.

Any notice required to be given to me will be effective when mailed by first class mail to the latest
address that ED has for me. | will immediately notify ED of any change of my address. Failure by
ED to enforce or insist on compliance with any term cn this note shall not walve any right of ED.
No provision of this note may be changed or walved except in writing by ED. If any provision of
this note is determined to be unenforceable, the remaining provisions shall remain in force.
Borrower Certification and Authorization

| declare under penalty of perjury that the following is true and correct:

(1) | certify that the information provided by me and my spouse, if applicable, in this note Is true,
complete, and correct to the best of my knowledge and beflef and is made in good faith.

(2) I certify that | do not now owe a refund on a Federal Pell Grant, Basic Educational
Opportunity Grant, Federal Supplemental Educational Opportunity Grant, or a State Student
Incentive Grant, or I | owe a refund, (have made satisfactory arrangements with the holder
to repay the amount owed. | further cerfify that | am not now in default on any Joan | am
consolidating or, if | am in default, | have either made a satisfactory repayment arrangement
with the holder of that defaulted loan, or | wil repay under the income contingent repayment
plan. | understand that Incame contingent repayment Is not available for the parent PLUS
loan postion of my Direct Consolidation Loan.

(8) | certify that all of the loans selected have been used to finance my education, my spouse's
education, or my child's education.

(4) | certify that | do not have any other appfication pending for a Federal Consolidation Loan
with any other lender. If my student loans are in a grace or repayment period and if none of
the loans | am consolidating is a Direct Loan Program Joan, | further certify that | have sought
and been unable to obtain a Federal Consolidation Loan from a FFEL Program fender, or a
lender would not provide me with a Federal Consolidation Loan with income-sensitive
Tepayment terms acceptable to me. If) have parent PLUS loans and none of the loans | am
consolidating is a Direct Loan Program loan, | further certify that | have sought and been
unable to obtain a Federal Consolidation Loan from a FFEL Program lender. if, however, |
am consolidating jointly with my spouse, only one borrower, my spouse or |, must have
sought a Federal Consolidation Loan from a FFEL Program lender,

(5) t understand that this loan shall, to the extent used to discharge foans that | have selected,
Count against the applicable aggregate loan limits under the Act.

(6) | understand that the amount of my Direct Consolidation Loan is the sum of the balance(s) of
my outstanding eligible loan(s) that | have chosen to consolidate. My outstanding balance on
ach loan to be consolidated includes unpaid principal, unpaid accrued interest, and late
charges as defined by federal regulations and as certified by each holder. Collection costs
may also be included. For a Direct Loan or FFEL Program loan that is in default, ED mits
collection costs that may be charged to the borrower to no more than those currently
authorized under the FFEL Program and may impose reasonable limits on collection costs
paid to the holder. If the amount ED advances to my holder(s) exceeds the amount needed
to pay off the balance(s) of the selected loan(s), | understand that the holder will refund the
excess to ED for appiication against the outstanding balance of this loan. If the amount that
ED advances to my holder(s) is less than the amount needed to pay off the balance(s) of the
loan{s) selected for consolidation, ED will include the remaining amount in this joan unless |
pay the remaining balance myself.

(7) | authorize ED to contact the holder(s) identified on my application to determine the eligibility
andor payoff amount for the loan{s) | have Identified. | further authorize release to ED on its
agent any information required to consolidate my education loan(s) pursuant to the Act.

(8) | authorize ED to issue the proceeds of my Direct Consofdation Loan to the holder(s) of the
loan(s) so selected to discharge the debt

(9) | authorize ED to investigate my credit record and repost information conceming my loan
status to proper persons and organizations authorized to receive this information.

(10) | authorize the release of information pertinent to this loarx (i) by my schools) and ED, to
members of my immediate family untess | submit written direction otherwise; and () by and
amongst my schook(s), ED, and thelr agents.

(11) | authorize my schooi(s), ED, and thelr agents, to verily my social security number with the
Social Security Administration (SSA) and, if the number on my foan record is incorrect, then |
authorize SSA to disclose my correct social security number to these parties.

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U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #1 OF 1
Rick L. Petry

Inver Grove, MN 55076
Account No. XXXXX4949

I certify that U.S. Department of Education records show that the borrower named above is indebted to
the United States in the amount stated below plus additional interest from 06/11/10.

On or about 04/16/02, the borrower executed a promissory note to secure a Direct Consolidation Joan
from the U.S. Department of Education. This loan was disbursed for $32,957.19 & $34,235.47 on
09/23/02, at 4.88 percent interest per annum. The loan was made by the Department under the William
D. Ford Federal Direct Loan Program under Title IV, Part D of the Higher Education Act of 1965, as
amended, 20 U.S.C. 1087a et seq. (34 C.F.R. Part 685). The Department demanded payment according to
the terms of the note, and the borrower defaulted on the obligation on 09/16/08. Pursuant to 34 C.F.R. §
685.202(b), a total of $11,461.86 in unpaid interest was capitalized and added to the principal balance.

The Department has credited a total of $12,272.12 in payments from all sources, including Treasury
Department offsets, if any, to the balance. After application of these payments, the borrower now owes
the United States the following:

Principal: $78,654.52
Interest: $ 9,817.92
Total debt as of 06/11/10: $88,472.44

Interest accrues on the principal shown here at the rate of $10.51 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: (7 / I7 / 10 OSL 7 tan. Lp Hb: ateele-

Tah Analyst
Lifigation Support

GOVERNMENT
EXHIBIT

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